                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA                      *

       v.                                     *          Crim. No. TDC-19-200

ERIC EOIN MARQUES                             *

*      *       *   *    *   *   *    *    *    *    *    *   *
            SUPPLEMENTAL MEMORANDUM IN SUPPORT OF SENTENCING

       Eric Marques will appear before the Court on September 15, 2021 at 2:00 p.m. to enter into

an updated plea agreement to plead guilty to, and to be sentenced for, conspiring to advertise child

pornography in violation of 18 U.S.C. § 2251(d)(1)(A) & (e). Mr. Marques maintains the

arguments raised in his initial sentencing memorandum and asks that the Court review that filing

and its attachments in advance of the September 15 proceeding. See Sealed Memorandum in

Support of Sentencing, ECF 72 (filed April 28, 2021) (“ECF 72”). For the reasons contained in

that memorandum, those noted herein, and the arguments to be offered on September 15, a

sentence of 252 months (21 years) of imprisonment is sufficient but not greater than necessary to

accomplish the goals of sentencing. Mr. Marques submits this supplemental memorandum to

highlight relevant changes to the Plea Agreement and Pre-Sentence Report and to update the Court

on the agreed-upon forfeiture and restitution amounts.

       FACTUAL SUMMARY AND PROCEDURAL HISTORY, REVISED PLEA
         AGREEMENT, AND UPDATES TO THE PRE-SENTENCE REPORT

       A. Factual Summary & Procedural History

       Mr. Marques’ case is summarized in ECF 72. In brief, Mr. Marques is before the Court to

be sentenced for operating Freedom Hosting, a server on the TOR network that facilitated the

advertisement and distribution of child pornography. Specifically, Freedom Hosting allowed users



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around the world to host websites for free that offered, among other content, images and videos

containing child pornography. On July 29, 2013, Mr. Marques was arrested in Ireland, where he

has resided for most of his life. Following one day of release pending a bail hearing in Ireland, he

was arrested again in August 1, 2013. He has remained in custody ever since.

       The parties initially entered into a plea agreement pursuant to Fed. R. Crim. P 11(c)(1)(C)

that called for a prison sentence of between 15 and 21 years. See Original Plea Agreement, 6 (ECF

62). Mr. Marques appeared before the Court on May 12, 2021 for sentencing pursuant to that

agreement where the parties disputed several issues including the appropriateness of an order

instructing the Bureau of Prisons (“BOP”) not to credit Mr. Marques for time spent in Irish custody

pending extradition and whether Mr. Marques’ operation of Freedom Hosting resulted in pecuniary

gain. See Transcript of May 12, 2021 Proceedings (ECF 93). The Court ultimately rejected the

“c-plea” agreement.

       B. Revised Plea Agreement

       The parties subsequently reached a new plea agreement that addressed the issues raised on

May 12. This new agreement, fashioned as an addendum to the old one, will be entered pursuant

to Fed. R. Crim. P 11(c)(1)(C) on September 15 and calls for a sentence of between 21 years (252

months) and 27 years (324 months). The new agreement provides the following specific updates

to the original plea agreement:

          Amends paragraphs 9 and 20(b) to note an agreement to a range of between 21 and 27
           years in prison. See June 16, 2021 Plea Agreement Amendments, 1-2 ¶¶ 1-3.

          Amends paragraph 10 to jointly request that the Court note in the Judgment and
           Commitment Order (“J & C”) that Mr. Marques receive credit against his sentence for
           time spent in official detention in Ireland. Id. at ¶ 2.

          Amends the statement of facts to accurately summarize the number of images found on
           the Freedom Hosting server. Id. at ¶ 4.


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          Amends the statement of facts to accurately state Mr. Marques’ business and
           employment history. Id. at ¶ 5.

       C. Revised Pre-Sentence Report

       Following Mr. Marques’ ratification of the amended plea agreement, an updated Pre-

Sentence Report (“Revised PSR”) was drafted and provided to the parties for objections. Probation

issued the final Revised PSR on July 29, 2021. See ECF 107. In addition to changes reflecting

the new proposed sentence length and the modified statement of facts, the revised PSR included

the following notable updates:

          An update to Mr. Marques’ employment record to note that “[d]iscovery from the
           government documents that Freedom Hosting was created on July 24, 2008 and that
           Freedom Hosting was free for users until July 2013. Shortly before [Mr. Marques’]
           arrest, a $5.00 hosting fee was added.” Revised PSR, 15 ¶ 72.

          Mr. Marques’ employment record was also updated to note that “[s]ince as early as
           2003, Mr. Marques also “provided legitimate web-hosting services for businesses and
           individuals through several entities including a company called Host Ultra. These
           businesses were profitable to [Mr. Marques] and remained in operation until
           [Mr. Marques’] arrest in July 2013.” Id. at ¶ 73.


       D. Filings to be Reviewed in Advance of September 15, 2021

       As noted above, Mr. Marques respectfully requests that the Court review his initial

sentencing memorandum (ECF 72) and adopts the arguments raised therein. Prior to the May 12

sentencing there were multiple disputes that resulted in the filing of additional motions and

memoranda. Most, if not all of these disputes are rendered moot by revisions to the plea agreement

and the PSR. As such, the Court need not review all of Mr. Marques’ additional sentencing filings

including Mr. Marques’ Motion to Strike Government’s Notice of Witness (ECF 83),

Mr. Marques’ Response to Government’s Motion for Leave to Late File Restitution Memorandum

and Opposition to Motion for Post-Sentencing Restitution Hearing (ECF 80), and Mr. Marques’

Motion to Strike Government’s Memorandum in Aid of Sentencing, or in the Alternative, Motion


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for Leave to File a Response and Response (ECF 82).1 To the extent an argument contained in

one of these earlier filings remains relevant, it is addressed below or will be discussed at sentencing

on September 15, 2021.

                      SUPPLEMENTAL SENTENCING ARGUMENTS

       The parties remain in agreement as to the applicable advisory guideline range. See Revised

PSR, 11 ¶ 48; 16 ¶ 78. Thus, the lone task before the Court is to determine whether a sentence of

twenty-one (21) years in prison is “sufficient, but not greater than necessary” to accomplish the

goals of sentencing in 18 U.S.C. § 3553(a)(2). For the reasons noted in Mr. Marques’ initial

sentencing memorandum (ECF 72), Mr. Marques contends that it is. Below, Mr. Marques

addresses several supplemental points in aid of a 21-year prison sentence.

       This Court should consider the exceptionally difficult conditions under which Mr. Marques

has been jailed awaiting sentencing. Mr. Marques has spent the past two (2) years and eight (8)

months detained at Baltimore’s Chesapeake Detention Facility (“CDF”). Revised PSR, 2. The

difficult conditions endured by inmates at CDF during the COVID-19 pandemic are well-

documented and need not be recounted in full. See Catchings et al. v. Warden Wilson et al., 21-

cv-428-TSE (D. Md. filed Feb. 20, 2021) (class-action lawsuit compiling CDF’s deficiencies in

addressing COVID-19 and highlighting some of the severe measures implemented to attempt to

halt its spread, often unsuccessfully). In sum, Mr. Marques has been under some form of enhanced

lockdown for much of past year and a half with little or reduced access to meaningful outdoor

recreation, reduced programming, and limits on in-person visitation from family and counsel. He


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  Likewise, Mr. Marques believes that ECF 73 (Government Notice of Witness to Speak at
Sentencing), ECF 74 (Government Motion for Extension of Time to File Restitution Memorandum
Out of Time), and ECF 86 (Government’s Response to Defendant’s Motion to Strike
Government’s Memorandum in Aid of Sentencing and Government’s Notice of Witness to Speak
at Sentencing) are moot or irrelevant.

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endured periods of extreme stress when a significant number of the inmates and a large number of

the staff at CDF tested positive for COVID-19. See Plfs’ Resp. to the Court’s Sua Sponte

Suggestion of Adding Federal Parties to this Litigation, Catchings v. Wilson (D. Md. filed Mar.

31, 2021), ECF 60 at 2-3 (noting the rising numbers of positive COVID-19 tests at CDF during

February and March of 2021). He is further isolated because all of his family resides in Ireland

and has never been able to visit him in person. This will remain the case for the duration of his

federal sentence. He has also received no treatment or therapy for his well-documented mental

health maladies while in U.S. custody. Though he will hopefully receive therapy and treatment

when he is ultimately transferred to a Bureau of Prisons (“BOP”) facility, the fact remains that his

time in custody in the United States has been exceptionally, if not uniquely, harsh. A twenty-one

(21) year sentence recognizes this fact.

       Mr. Marques also addresses an issue that was central to his last sentencing: the question

of whether Freedom Hosting netted him significant financial gain. See May 12, 2021 Sentencing

Transcript, 49-50 (ECF 93). The statement of facts and PSR have been revised to reflect that

Mr. Marques made money from his legitimate web-hosting services, not Freedom Hosting.

Revised Plea Agreement, 3 ¶ 5 (modifying the claim that Mr. Marques hosted “his server” to a

more accurate statement that Mr. Marques hosted “an internet hosting service . . . .”); Revised

PSR, 15 ¶¶ 72-74 (noting that Freedom Hosting was “free to users” until “[s]hortly before

Mr. Marques’ arrest” and reflecting that his money was earned through the operation of “legitimate

web-hosting services . . . .”). Though the contents of many of the websites it hosted were

despicable and unlawful, the evidence shows that Freedom Hosting was a free service until just

before Mr. Marques’ arrest.

       Mr. Marques also addresses a second issue that was debated at his last court appearance:



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credit for time spent in custody in Ireland awaiting extradition to the United States. Sentence

computation, including the decision to award credit for time spent in custody prior to sentencing,

is a task assigned exclusively to the BOP under 18 U.S.C. § 3585(b). Nonetheless, the parties

agree that the Court has the authority to offer its view on whether that credit should be awarded.

The parties also agree that the Court should recommend to the BOP in the J & C that the time spent

in custody since Mr. Marques’ 2013 arrest is to be credited to his federal sentence. See Revised

Plea Agreement, 2.

         Finally, the government may again argue that Mr. Marques is somehow deflecting

culpability by raising his diagnosis of Autism Spectrum Disorder (“ASD”) in his sentencing

materials. To the contrary, Mr. Marques has repeatedly accepted responsibility for his conduct.

Mr. Marques tried to plead guilty in Ireland before he was extradited to the United States, but was

denied that opportunity by the Irish courts. When he was extradited to the United States,

Mr. Marques promptly pled guilty pursuant to a plea agreement that was ultimately rejected by the

Court.    He has again accepted responsibility for his conduct by signing an amended plea

agreement. His well-confirmed ASD diagnosis was at the center of his extradition from Ireland,

and is of no surprise to the government. It certainly does not excuse his conduct; the parties have

always agreed on this point. See ECF 72, 17 (“This [Mr. Marques’ ASD] does not mean that

Mr. Marques should not be punished. He must be.”). Mr. Marques’ diagnosis is, however,

unquestionably a point this Court is required to consider under 18 U.S.C. § 3553(a), including

because it is part of his “history and characteristics.” ASD was properly raised in his sentencing

memorandum and should be considered by the Court as it determines the appropriate sentence.

         No punishment can undo the harms reaped upon the victims of child pornography.

However, the Court must mete out a sentence that weighs that harm among many other factors.



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Mr. Marques respectfully submits that such a balancing yields a sentence of 21 years in prison,

followed by conditions of supervision that permit Mr. Marques’ immediate relocation to his home

in Ireland. Revised Plea Agreement, 2 ¶ 2.

                                 RESTITUTION AND FORFEITURE

       A. Forfeiture

       Mr. Marques agrees to the entry of an order of forfeiture pursuant to 18 U.S.C. § 2253 and

21 U.S.C. § 853(p). Specifically, he agrees to forfeit $154,422.61 in U.S. currency with credit

given for the funds administratively forfeited by the FBI on or about March 13, 2015 (Asset IDs

13-FBI-006178 and 13-FBI-006179). Original Plea Agreement, 7 ¶ 15. A consent motion for a

preliminary order of forfeiture in that amount has been submitted to the Court, see ECF 87, and no

additional action beyond entry of that proposed order is required at this time. See ECF 87-1.

       B. Restitution

       Mr. Marques agrees that pursuant to 18 U.S.C. § 2259, § 3363, and § 3663A, the Court

may order restitution to the victims of his offense, and he further agrees that such an order is

appropriate here. See Original Plea Agreement, 6; see also United States v. Burgess, 684 F.3d 445,

459 (4th Cir. 2012); Paroline v. United States, 572 U.S. 434, 443 (2014). As noted in a separate

filing addressing restitution, Mr. Marques agrees to the entry of a restitution order and believes

there are no disputes regarding the amount owed.         See ECF 109 (Government’s Sealed

Submission Regarding Restitution) and ECF 111 (Defendant’s Sealed Response). The parties

also agree that the Government will seek approval to apply the above-noted forfeited funds as

credit against the restitution owed. See Plea Agreement, 7 ¶ 17.




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                                            CONCLUSION

       For these reasons, and those to be offered at sentencing, the fair and just sentence for

Mr. Marques is 21 years in prison (252 months) and a condition of supervised release permitting

Mr. Marques to depart the United States to reside in his home nation of Ireland immediately upon

the completion of his prison term. Given Mr. Marques’ inability to pay a fine, we respectfully

request that the Court not impose a fine.

                                              Respectfully submitted,

                                              JAMES WYDA
                                              Federal Public Defender

                                                     /s/
                                              Brendan A. Hurson (#28179)
                                              Maggie Grace (#29905)
                                              Assistant Federal Public Defenders
                                              100 South Charles Street
                                              Tower II, Ninth Floor
                                              Baltimore, Maryland, 21201
                                              (410) 962-3962 (p)
                                              (410) 962-3976 (f)
                                              Email: brendan_hurson@fd.org
                                                     maggie_grace@fd.org




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